
*999ORDER
Pursuant to Article V of the Rules for Judicial-Conduct and Judicial-Disability Proceedings under 28 U.S.C. § 352(c), complainant has filed a petition for review of the order of the Chief Judge entered on May 23, 2014, dismissing the complaint against a district judge of this circuit. See In re Complaint of Judicial Misconduct, 756 F.3d 1143 (9th Cir.2014).
We have carefully reviewed the record and the authorities cited by the Chief Judge in his order of dismissal. We conclude there is no basis for overturning the order of dismissal.
For the reasons stated by the Chief Judge and based upon the controlling authority cited in support thereof, we affirm.
